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KUTAK ROCK LLP                         Document     Page 1 of 4
Peter J. Barrett (VSB No. 46179)
901 East Byrd Street, Suite 1000
Richmond, Virginia 23219
(804) 644-1700
Chapter 7 Trustee

                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division

In re:                                          )       Chapter 7
                                                )
Nathan Clay Grubb,                              )
                                                )       Case No. 21-32913-KLP
                                   Debtor.      )

                         ORDER EXTENDING TIME TO OBJECT TO THE
                   GRANTING OF THE DEBTOR’S DISCHARGE AND TO EXTEND
                    TIME TO FILE A COMPLAINT OBJECTING TO DISCHARGE

         This matter came before the Court upon Peter J. Barrett, Trustee’s Motion To Extend Time

To Object To The Granting Of The Debtor’s Discharge And To Extend Time To File A Complaint

Objecting To Discharge (the “Motion”). The Court having reviewed the Motion, and the Court

being fully advised in the premises and having determined that the legal and factual bases set forth in

the Motion establish just cause for the relief granted herein; and no objections having been received;

         THE COURT HEREBY FINDS THAT:

         A.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

         B.        This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         C.        Notice of the Motion (and service of the proposed order) was sufficient under the

circumstances.

         D.        The Motion is in full compliance with all applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules and the Local Rules of this Court.

         IT IS HEREBY ORDERED THAT:

         1.        The Motion is hereby GRANTED.




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         2.        Capitalized terms not otherwise defined herein shall have the meanings given to them

in the Application.

         3.        The time to object to the granting of the discharge and the time to file a complaint

objecting to the Debtor’s discharge is extended to and including May 31, 2022.

         4.        Upon entry the Clerk shall serve copies of this Order on all parties listed on the Service

List attached hereto.

Entered: May 16 2022                                     /s/ Keith L Phillips
                                                  UNITED STATES BANKRUPTCY JUDGE

                                                  Entered On Docket: May 17 2022

I ask for this:

_/s/ Peter J. Barrett
Peter J. Barrett (Va. Bar No. 46179)
Kutak Rock LLP
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Richmond, VA 23219
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Chapter 7 Trustee




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                                       CERTIFICATION

       I hereby certify that pursuant to Local Rule 9022-1, the foregoing Order Extending Time To
Object To the Granting Of The Debtor’s Discharge And To Extend Time To File A Complaint
Objecting To Discharge has been either seen and/or endorsed by all necessary parties.




                                           /s/ Peter J. Barrett____
                                                           Trustee




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                                       SERVICE LIST


Kathryn R. Montgomery, Esquire
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